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                         UNITED STATES DISTRICT COURT

                       CENTRAL DISTRICT OF CALIFORNIA


 THE ESTATE OF
 SINOUN SAMANTHA PREAM,ET AL.,            CASE NO. CV 17-4295-TJH(FFMx)

                   Plaintiff(s),
                                          JURY INSTRUCTIONS
            v.                            PHASE 2- AS TO DAMAGES
 THE CITY OF LONG BEACH,ET AL.,

                   Defendant.
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         It is the duty ofthe Court to instruct you about the measure of damages.


         The Plaintiffs have the burden of proving damages by a preponderance ofthe
   evidence.


         Damages means the amount of money that will reasonably and fairly
   compensate Sinuon Samantha Pream and the Plaintiffs for any injury you find was
   caused by each Defendant.


         It is for you to determine what damages, if any, have been proved.


         The Plaintiffs do not have to prove the exact amount of these damages.
  However, your award must be based upon evidence and not upon speculation, guess
   work or conjecture. No fixed standard exists for deciding the amount of damages.
  You must use your judgment to decide a reasonable amount based on the evidence
  and your common sense




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          As to the claim of Sinuon Samantha Pream for the use of excessive force in
    violation of her Fourth Amendment rights, you should consider the following as to
   her damages:
                The mental, physical, and emotional pain and suffering experienced by
                Sinuon Samantha Pream;
         2.     The loss of enjoyment oflife experienced by Sinuon Samantha Pream;
                and
         3.     The nature and extent ofthe injuries to Sinuon Samantha Pream.




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          Although there is more than one plaintiffin this action,it does not follow from
    that fact alone that if one plaintiff is entitled to recover, all are entitled to recover.
    The Defendants axe entitled to a fair consideration as to each Plaintiff,just as each
   Plaintiffis entitled to a fair consideration ofthat Plaintiffs claim for damages against
   each Defendant. Unless otherwise stated, all instructions I give you govern the case
   as to each Plaintiff.




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          As to the Fourteenth .Amendment claims of Bradley Pream, Jacob Pream,
    Jocelyn Chanta Ly, Joanna Mariah Ly,Yoeun Ven, and San Pream for violations of
    their right to familial association with Sinuon Samantha Pream, you should consider
   the following as to each Plaintiff:
          1.    The loss of Sinuon Samantha Pream's love, companionship, comfort,
                care, assistance, protection, affection, society, and moral support; and
          2.    The loss of Sinuon Samantha Pream's training and guidance.




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          Plaintiffs are entitled to be compensated only for the injuries actually suffered.


          Defendants violated more than one of the Plaintiffs' rights. If the injury
   resulting from Defendants' conduct was no greater than it would have been had
   Defendants violated only .one of the Plaintiffs' rights, then you should award an
   amount of compensatory damages that is no greater than you would award if
   Defendants had violated only one ofthe Plaintiffs' rights.


         If Defendants' conduct caused separate injuries that you can identify
   separately for each of the separate violations, then you should award an amount of
   compensatory damages equal to the total ofthe damages you believe will fairly and
   justly compensate the Plaintiffs for the separate injuries they suffexed.




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          Asto the battery and negligence claims,you must decide how much money will
    reasonably compensate the Plaintiffs for the death ofSinuon Samantha Pream. The
   Plaintiffs seek compensation for the following past and future damages:
                 The loss of Sinuon Samantha Pream's love, companionship, comfort,
                 care, assistance, protection, affection, society, moral support; and
          2.     The loss of Sinuon Samantha Pream's training and guidance.


          In determining the Plaintiffs' losses for the battery and negligence claims, do
   not consider:
          1.    Plaintiffs' grief, sorrow, or mental anguish;
          2.    Sinuon Samantha Pream's pain and suffering; or
         3.     The poverty or wealth ofthe Plaintiffs.


         In deciding a person's life expectancy, you may consider, among other factors,
   the average life expectancy of a person of that age, as well as that person's health,
   habits, activities, lifestyle, and occupation.




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